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                                                        March 12, 2019

         Via ECF
         The Honorable Karen M. Williams
         U.S. District Court, District of New Jersey
         Mitchell H. Cohen Building & U.S. Courthouse
         4th& Cooper Streets
         Camden, NJ 08101

                           Re:        The HomeSource Corp. v. Retailer Web Services, LLC
                                      D.N.J., Docket No. 1:18-cv-11970-JBS-KMW
                                      Our File No. R0939-1001

         Dear Judge Williams:

                 We represent Defendant, Retailer Web Services, LLC, in connection with the
         above-referenced matter. Yesterday, we filed the declaration of our expert, Jennifer L.
         Bayuk Ph.D, (Doc. 66). After filing the declaration, it was determined that additional
         redactions should have been made to the document. We then filed a further redacted
         declaration at Document 67.

                Accordingly, we request that Document 66 be removed from the docket. Your
         law clerk temporarily sealed the unredacted declaration to prevent public access. We are
         available to address any questions regarding this matter in Court later today.

                                                    Respectfully,

                                                    /s/ Matthew A. Lipman

                                             MATTHEW A. LIPMAN
         MAL/mar
         Enclosure
         cc:    Alexis Arena, Esquire (via ECF)
                Eric R. Clendening, Esquire (via ECF)
                Adam Wolek, Esquire (via email w/ encl.)
                William C. Wagner, Esq. (via email e/ encl.)

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